        Case 1:18-cv-12084-VSB Document 37 Filed 03/05/19 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

                                               )
DANIEL PLAUT, Individually and on Behalf       )   Case No. 1:18-cv-12084-VSB
of All Others Similarly Situated,              )
                                               )   NEBRASKA INVESTMENT
                          Plaintiff,           )   COUNCIL’S RESPONSE TO
      vs.                                      )   COMPETING MOTIONS FOR
                                               )   APPOINTMENT AS LEAD
THE GOLDMAN SACHS GROUP,                       )   PLAINTIFF AND APPROVAL OF
INC., LLOYD C. BLANKFEIN,                      )   SELECTION OF LEAD COUNSEL
HARVEY M. SCHWARTZ and R.                      )
MARTIN CHAVEZ,                                 )
                                               )
                          Defendants.          )




                                           1
          Case 1:18-cv-12084-VSB Document 37 Filed 03/05/19 Page 2 of 2



       On February 19, 2019, Nebraska Investment Council (“Nebraska”) timely filed its motion

for appointment as lead plaintiff and approval of selection of lead counsel pursuant to Section

21(D)(a)(3)(B) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended

by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”).

       The PSLRA provides that the “court shall adopt a presumption that the most adequate

plaintiff” is the movant with “the largest financial interest in the relief sought by the class” that

“otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15

U.S.C. § 78u-4(a)(3)(B)(iii)(I). Having reviewed the competing motions and supporting papers

submitted by the other movants, it appears that Nebraska does not have the “largest financial

interest” in the above-captioned action.

       However, Nebraska remains willing and able to serve as lead plaintiff or as a named class

representative if the Court determines that the other lead plaintiff movants are incapable or

inadequate to represent the class or for any other reason. Nebraska reserves any and all rights to

participate in any recovery in the action.


DATED: March 5, 2019                                   Respectfully submitted,

                                                        /s/ Christopher J. Keller

                                                       LABATON SUCHAROW LLP
                                                       Christopher J. Keller
                                                       Eric J. Belfi
                                                       Francis P. McConville
                                                       140 Broadway
                                                       New York, New York 10005
                                                       Telephone: (212) 907-0700
                                                       Facsimile: (212) 818-0477
                                                       ckeller@labaton.com
                                                       ebelfi@labaton.com
                                                       fmcconville@labaton.com

                                                       Counsel for Nebraska Investment Council




                                                   2
